UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI

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Plalntlff iauzzlg”cv“ S"'_SRB_"P

vs Case No.

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Defendant . )
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APPLICATION FOR LEAVE TO FILE ACTION
WITHOUT PAYMENT OF FEES
WITH AFF[DAVIT OF FINANCIAL STATUS IN SUPPORT

I state that I am unable to pay the fees to file an action against the defendant(s) in this case
and that the actions of the defendant(s) have harmed me.
Attached is my Aftidavit of Financial Status in support of my application to the court for

leave to tile a civil action without payment of costs.

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI

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PlaintiH` or Petitioner a

Case No.

 

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Defendant(s) or Respondent(s) )
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&md 595 m AFFIDAVIT IN SUPPORT OF REQUEST TO
FPROCEED IN FORMH PA UPERIS - PRISONER CASES

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declare (l) that I am the ’D\C,l § I\Lr § P \ in this case; (2) that in support of my motion to
proceed without being required to prepay fees or costs, I state that because of my poverty, lam unable
to pay the costs of this proceeding; and (3) that I believe lam entitled to relief. The filing fee for habeas
corpus cases is $5.00. The filing fee for all other civil cases is $400_00. (Note: Prisoners must pay the
hill filing fee of $400.00 in non-habeas cases even if they are granted leave to proceed in forma
pauperis and even if this case is dismissed at a later time by the Court. W 28 U.S.C. § l915(e)(2) and
In re Tyler, 110 F.3d 528, 529-30(8th Cir.l997)(under Prison Litigation Reform Act, prisoners are
responsible for filing fees the moment a civil action is tiled.) See instructions provided with this
packet.

l. Place of confinement of plaintin op @,DC/ " "lé;./L l J'oh m

 

2. Crime(s) for which you have been convicted, date and sentence on e ch: ,
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’:ll$isa_<;mnn_ 6’{.3 Q C®nh~el|`é<l, $Q law 5 '¢=?Gi€j/

 

3. Are you presently employed? Yes No 2§

a. If the answer is “yes," state the amount of your salary or wages per
month, and give the name and address of your employer.

 

 

 

b. If the answer is “no”, state the date of last employment and the amount of
the salary and wages per month which you received.

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l-Iave you received, within the past twelve (12) months, money from any of the following
sources?

Yes
Business, profession of form of self-employment?
Rent payments, interest or dividends?
Pensions, annuities or life insurance payments? _ _

Gifts or inheritances? _

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Any other sources? __

If the answer to any of the above is “yes," describe the source and amount of money

received from each during the past twelve (12) months.

 

 

Do you own any cash, or do you have money ‘in a checking or savings accou t‘?
(lnclude any funds in prison accounts during the last six (6) months.) Yes _KNo

lf the answer is “yes," state the total amount of cash owned, and the average monthly
balance in all cheeking, savings or prison accounts during the last six (6) months.

 

Do you own real estate, stocks, bonds, notes, automobiles, jewelry or other valuable
property (excluding ordinary household furnishings and clothing)? Yes ___ No

If the answer is "yes,” describe the property and state its approximate value.

 

 

List the persons who are dependent upon you for support, state your relationship to those
persons, and indicate how much you contribute toward their support.

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I declare under penalty of perjury that the foregoing is true and correet.

Executed (signed) this ith 'Hq day of gap ‘I, 20 l 5/

 

 

 

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